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AO 442 (Rev. 10/13) Arrest Warrant F a

Case 4:23-cr-00264-GKF Document 10 Filed in USDC ND/OK on 08/25/23 Page 1 of 1

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UNITED STATES DISTRICT COURT ——2923,4us 21 py 3:93

for the
Northern District of Oklahoma

oF

United States of America )
v. ’ ‘)
) Case No. 93 CR a b4 G Fr
DANIEL LAWRENCE CHARBA ) i | i, A D
Defendant ) see eed
ARREST WARRANT AUS 25 2023
To: — Any authorized law enforcement officer Ge Dis THIGR ae
oes : ol
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) DANIEL LAWRENCE CHARBA,

who is accused of an offense or violation based on the following document filed with the court:

Ind

ictment LJ Superseding Indictment J Information (] Superseding Information [J Complaint

CL] Probation Violation Petition [1 Supervised Release Violation Petition [1 Violation Notice (1) Order of the Court

This offense is briefly described as follows:

26 U.S.C. §§ 5861(f), 5871, and 5822 — Unlawfully Making a Destructive Device
26 U.S.C. §§ 5861(d) and 5871 — Possession of an Unregistered Destructive Device

pate: AUG 21 2023 yp, @

Issuing officer's signature

City and state: Tulsa. Oklahoma Mark McCartt, Court Clerk

Printed name and title

Return

Date:

This warrant was received on (date) ¥~2) - VJ , and the person was arrested on (date) = § -2 4-27
At (city and state) Ju / fay D kK
/

C-2Y-23

—

Arresting officer's signature

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Printed name and title

NEM/bs
